                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE


TRACY ANDRIANO,                                   )    Docket No. 3:15-CV-0863
                                                  )
     Plaintiff,                                   )
                                                  )    JUDGE CRENSHAW
v.                                                )    MAGISTRATE JUDGE HOLMES
                                                  )
TYSON FOODS, INC.,                                )    JURY DEMAND
TYSON FRESH MEATS, INC.,                          )
a subsidiary of Tyson Foods, Inc.                 )
                                                  )
     Defendants.                                  )



PLAINTIFF’S FIRST MOTION IN LIMINE TO EXCLUDE OPINION TESTIMONY
REGARDING MISSING EVIDENCE AND FOR AN ADVERSE INFERENCE JURY
                           INSTRUCTION


        COMES now Plaintiff, by and through counsel, pursuant to Fed. R. Civ. P. 16.01(b)6,

and moves in limine to bar the introduction of any witnesses’ opinion testimony regarding the

subject matter video surveillance related to Plaintiff ,and upon the trial of this matter, shall be

requesting an adverse influence and spoliation of evidence jury instruction regarding missing

evidence of video surveillance related to Plaintiff.

        In support of her motion, Plaintiff contemporaneously files a memorandum of law.




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                                                    Respectfully submitted,

                                                    Parker & Associates

                                                    /s/ R. Patrick Parker
                                                    R. Patrick Parker, BPR # 16847
                                                    1517 Hunt Club Boulevard
                                                    Gallatin, TN 37075
                                                    Telephone: (615) 724-5291
                                                    Facsimile: (615) 590-4211
                                                    pparker@pparkerlaw.com




                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served, via the Middle District ECF filing system, a
true and correct copy of the foregoing pleading upon counsel for the parties, as follows:


Kenneth A. Weber, BPR No. 015730
Megan M. Sutton, BPR No. 029419
Baker Donelson Center
211 Commerce Street, Suite 800
Nashville, Tennessee 37201
Telephone: (615) 726-5760
Facsimile: (615) 744-5760
Email: kweber@bakerdonelson.com
Email: msutton@bakerdonelson.com

Attorneys for Defendants



                                                            /s/ R. Patrick Parker
                                                            Robert Patrick Parker




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